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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:12-CR-00213 AWI-BAM
12                                Plaintiff,            STIPULATION TO RETURN ITEMS SEIZED
                                                        PURSUANT TO SEARCH WARRANTS;
13                          v.                          FINDINGS AND ORDER
14                                                      COURT: Hon. Anthony W. Ishii
     ELISEO JARA, JR.,
15   SERGIO JARA,
     MELISSA JARA,
16   CANDACE GONZALES, and
     RICARDO SALINAS,
17
                                 Defendants.
18

19
                                                 STIPULATION
20
            The parties through their respective counsel hereby agree and stipulate as follows:
21
            1.      On May 7, 2012, United States Magistrate Judge Jennifer L. Thurston signed a search
22
     warrant which permitted the search of 4201 Oceanwood Street, Bakersfield, California, the residence of
23 Eliseo Jara, Jr., and permitted the seizure of specified items therein. On that date, Judge Thurston also

24 signed a search warrant which permitted the search of 8105 Rockhampton Drive, Bakersfield,

25 California, the residence of Sergio Jara and Melissa Jara, and permitted the seizure of specified items

26 therein.
27          2.      On May 9, 2012, the search warrants were served at 4201 Oceanwood Street,
28 Bakersfield, California, and 8105 Rockhampton Drive, Bakersfield, California, respectively.

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 1         3.     Among other items seized during execution of the search warrant, on May 9, 2012, law

 2 enforcement officers seized the following documentary items from 8105 Rockhampton Drive,

 3 Bakersfield, California, designated by FBI inventory numbers:

 4                a.     1B-1: Financial documents; 1 CD, bank, loan and financial documents,
                  b.     1B-2: 12 CDs marked “no down payment,”
 5
                  c.     1B-3: Property papers, business card with writing, Chase receipts,
 6
                  d.     1B-4: Bill of sale, car paperwork, 2 property files, Sprint business phone
 7
                         paperwork, receipt book,
 8
                  e.     1B-5: Safe deposit notice, 2 Chase receipts, LLC deposit slip,
 9
                  f.     1B-6: Contact book, correspondence notes, receipts, safe receipt, business papers,
10
                  g.     1B-7: 2009 rental properties binder, 2008 binder, 2008 binder docs, 2010 binder
11
                         docs, 2009 binder docs,
12
                  h.     1B-8: 2009 and 2010 box - property records, and
13
                  i.     1B-9: Financial documents.
14         4.     Among other items seized during execution of the search warrant, on May 9, 2012, law
15 enforcement officers seized the following documentary items from 4201 Oceanwood Street, Bakersfield,

16 California, designated by FBI inventory numbers:

17                a.     1B-10: Bank records Owkins LLC, Eliseo Jara Jr., and JLE, and Binder labeled
18                       property expenses 2006,
19                b.     1B-11: Property records 7912 Latham St, 8000 Latham St, and Paragon Home

20                       Mortgage records,

21                c.     1B-12: Property expense records, and bank records for Blossom Grove Partners,

22                       Monica Street LLC, etc.,
                  d.     1B-13: Real estate and financial documents pertaining to Attachment B,
23
                  e.     1B-14: Incorporation records for Owkins LLC and JLE Holdings LLC, and
24
                         property expense records,
25
                  f.     1B-15: Eliseo and Lisa Jara reconciliation summary, CPA statement, Chase
26
                         receipt, purchase contract, Declaration of Homestead, BOA checks, R.E. license
27
                         application, bank statements, investment property records, credit card statements,
28
                  g.     1B-16: Credit card statements and Eliseo Jara, Lisa Jara reconciliations,
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 1                  h.      1B-17: Bank records for Owkins, JLE Holdings LLC, expenses, and

 2                  i.      1B-18: Chase bank envelopes.

 3          5.      On March 16, 2015, Eliseo Jara, Jr. pleaded guilty to conspiracy to commit bank fraud,

 4 mail fraud and wire fraud, which was count one of a July 12, 2012 indictment filed against him and
   seven other co-defendants. On October 13, 2015, Eliseo Jara, Jr. was sentenced to serve 78 months in
 5
   prison. His surrender date to the Bureau of Prisons is February 8, 2016.
 6
           6.     On March 16, 2015, Sergio Jara pleaded guilty to conspiracy to commit bank fraud, mail
 7
   fraud and wire fraud, which was count one of a July 12, 2012 indictment filed against him and seven
 8
   other co-defendants. On October 13, 2015, Sergio Jara was sentenced to serve 78 months in prison. His
 9
   surrender date to the Bureau of Prisons is February 8, 2016.
10
           7.     On March 16, 2015, Melissa Jara pleaded guilty to wire fraud, which was count twenty-
11
   two of a July 12, 2012 indictment filed against her and seven other co-defendants. On October 13, 2015,
12
   Melissa Jara was sentenced to time-served.
13
           8.     Eliseo Jara, Jr. has requested return of seized items 1B-10 through 1B-18 listed above
14 that were seized from his residence on May 9, 2012 before he surrenders to the Bureau of Prisons, in

15 order to resolve some personal business.

16          9.      Sergio Jara and Melissa Jara have requested return of seized items 1B-1 through 1B-9
17 listed above that were seized from their residence on May 9, 2012 before Sergio Jara surrenders to the

18 Bureau of Prisons, in order to resolve some personal business.

19          10.     Of the eight defendants charged in the July 12, 2012 indictment in the above-captioned

20 case, all eight pleaded guilty to various charges. Only two defendants, Ricardo Salinas and Candace
21 Gonzales, are pending sentencing.

22          11.     Ricardo Salinas and Candace Gonzales, each through counsel, do not object to the return
     of the above-listed items to co-defendants Eliseo Jara, Jr., Sergio Jara and Melissa Jara.
23
            12.     The parties agree to the return of the seized items listed above on the following
24
     conditions:
25
                    a. The Government can retain copies of the seized documentary items.
26
                    b. In the event that information from the seized documents is sought to be introduced
27
                         into evidence at any post-conviction or sentencing proceeding for any co-defendant,
28
                         the defendants will make no objection to the United States’ introduction of the copied
      STIPULATION RE RETURN OF SEARCH                     3
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 1                    information, as opposed to the original seized documents, which will then be in the

 2                    possession of Eliseo Jara, Jr., Sergio Jara and/or Melissa Jara

 3                c. The original seized items 1B-1 through 1B-9 will be returned to Sergio Jara and/or

 4                    Melissa Jara personally or through their counsel or other designee.
                  d. The original seized items 1B-10 through 1B-18 will be returned to Eliseo Jara, Jr.
 5
                      personally or through his counsel or other designee
 6
           So Stipulated and Agreed.
 7
                                                         Respectfully submitted,
 8

 9 Dated: February 2, 2016                                  BENJAMIN B. WAGNER
                                                            United States Attorney
10

11                                                          /s/ HENRY Z. CARBAJAL III
                                                            HENRY Z. CARBAJAL III
12                                                          Assistant United States Attorney
13

14 Dated: February 2, 2016                                  /s/ Carl M. Faller
15                                                          CARL M. FALLER
                                                            Counsel for Defendants
16                                                          ELISEO JARA, JR.
                                                            SERGIO JARA
17                                                          MELISSA JARA
18
     Dated: February 2, 2016                                /s/ John F. Garland
19
                                                            JOHN F. GARLAND
20                                                          Counsel for Defendant
                                                            RICARDO SALINAS
21
     Dated: February 2, 2016                                /s/ David Torres
22                                                          DAVID TORRES
                                                            Counsel for Defendant
23                                                          CANDACE GONZALES
24

25 IT IS SO ORDERED.

26 Dated: February 3, 2016
                                               SENIOR DISTRICT JUDGE
27

28

      STIPULATION RE RETURN OF SEARCH                   4
30    WARRANT ITEMS
